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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

lN RE: CASE NO:
GREGORY WAYNE BOSTIC 3:17-bk-03837-J'AF

Debtor. .

AMENDED CHAPTER 13 PLAN

A. NOTICES.

Bebtor1 must check one box on each line to state Whether or not the Plan includes each of
the following items. If an item is checked as “Not Inclnded,” ii` both boxes are checked, or if
neither box is checked, the provision Wiil be ineffective if set out later in the Plan.

 

A limit on the amount of a secured claim based on a valuation Which Included N t Inciuded
may result in a partial payment or no payment at all to the secured g 16
creditor See Sections C.S(d) and (e).A separate motion Will be tiled.

 

Avoidance of a judicial iien or nonpossessory, nonpurchase money included l Not included
security interest under 11- U.S.C.§ 522(@. A separate motion Wili be )€ ` "-"
filed See Section C.S(e).

 

|:l

 

 

 

Nonstandard provisions, set out in Section E. included Yot included

 

 

B. MONTHLY PLAN PAYMENTS.Pian payments include the Trustee’s fee of iO% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
the Trustee for the period of 60 months. if the Tnistee does not retain the full .10%, any
portion not retained Will be disbursed to allowed ciaims receiving payments under the
Plan and may cause an increased distribution to the unsecured class of creditorsl

53 1,100.00 from month 1 through 20.
$71,135.()0 from month 21 through 60.

 

lAil references to “Debtor” include and refer to both of the debtors in a case filed jointly by two
individuals

 

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C. PROPOSEI) DISTRIBUTI()NS.

1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $ 4,040.{}0 Total Paid Prepetition $ 840.(}0 Balance Dne S 3,200.00
MMM Fee S Total Paid Prepetition $ Balance Due S

Estirnatedl\/Ionitoring Fee at S per Month.

Attorney’s Fees Payable Through Plan at $ 160.0(} for months 1 through 20
Monthly (subject to adjustment).

2. DOMESTIC SUPPORT OBLIGATIONS ( as defined in 11 U.S.C. 5101(14Al.

 

Acct. No. Creditor Total 'Claim,Amount

 

 

 

 

n/a

 

 

3. PRIORITY CLAIMS ( as defined in 11 U.S.C. 8 507).

 

 

 

 

 

Last F our Digits of Acct. Creditor Total Claim Amonnt
No. -
3731 lntemal Revenue Service $406.80

$10.17 per month 21 -, 60

 

 

4. TRUSTEE FEES. From each payment received from Debtor, the Tr_ustee shall
receive a fee, the percentage of Which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments The Trustee shall disburse adequate protection payments to secured
creditors prior to confirrnation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or- Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending

2

 

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if Debtor’s payments under the Plan are timely paid, payments to secured creditors under the
Pian shall be deemed contractually paid on time.

(a) Claims Secured by I)ebtor’s Principai Residence Which Debtor Intends to
Retain - Mortgage, HOA and Condo Association Paylnents, and Arrears, if any,
Paid Through the Plan. if the Plan provides for curing prepetition arrearages on a
mortgage on Debtor’s principal residence, Debtor Will pay, in addition to all other sums
due under the proposed Plan, all regular monthly postpetition mortgage payments to the
Trustee as part of the Plan. These mortgage payments Which may be adjusted up or down
as provided for under the loan documents are due beginning the first due date after the
case is filed and continuing each month thereafter. The Trustee shall pay the postpetition
mortgage payments for Debtor’s principal residence on the following mortgage claims:

 

 

Last Fonr Creditor Collateral Regular Gap Arrears

])igits of Address Monthly Payment

Acet. No. Payment

6332 DiTech 1523 GHHV& LH $4_07.12 $7,177-71

Bunnell, Fl, 3 l86.95

Months 21-5 9
3 186.66
l\/lonth 60

 

 

 

 

 

 

 

 

(b) Clainis Secured by Other Real Property Which I)ebtor Intends to Retain -
Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
Throngh the Pian. If the Plan provides to cure prepetition arrearages on a mortgage,
Debtor Will pay, in addition to all other sums due under the proposed Plan, ali regular
monthly postpetition mortgage payments to the Trustee as part of the Plan. These
mortgage payments Which may be adjusted up or down as provided for under the loan
documents are due beginning the first due date after the case is filed and continuing each
month thereafter. The Trustee shall pay the postpetition mortgage payments on the

_ following mortgage claims:

 

 

 

 

 

 

 

 

 

Last Four Creditor Collaterai Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Paynient
n/a
(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage

3

 

 

 

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Modification. if Debtor obtains a modification of the mortgageJ the modified payments
shall be paid through the Plan. Pending the resolution of a mortgage modification request
Debtor shall make the following adequate protection payments to the Trustee: (1) for
homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
spouse, if any (after deducting homeowners association fees), or the normal monthly
contractual mortgage payment; or (2)`for non-homestead income-producing property,
75% of the gross rental income generated from the property

 

 

Last Four Digits Creditor Coliateral Address Adequate
of Acct. No. 7 Protection Payment
n/a

 

 

 

 

 

(d) C}aims Secured by Real Property or Personal Property to Which Seetion 506
Valuation APPLIES (Strip Dovvn). Under 11 U.S.C. § 1322 (b)(2), this provision does
not apply to a claim secured solely by Debtor’s principal residence A separate motion
to determine secured status or to value tile collateral must be filed. The secured
portion of the claim, estimated beloW, shall be paid. Unless otherwise stated in Section E,
the payment through the Plan does not include payments for escrowed property taxes or
insurance d

 

 

Last Four Creditor Collateral Claim Value Payment Interest
Digits of Description/ Arnount Through Rate
Acct. No; ` Address Pl_an

n/a

 

 

 

 

 

 

 

 

 

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripp'ed Of`f Under 11 U.S.C.
§506. Debtor must file a separate motion under §522 to avoid a judicial lien or a
nonpossessory, nonpurchase money security interest because it impairs an exemption or

' under § 506 to determine secured status and to strip a lien.

 

 

Last Four Digits of Acct. Creditor Collateral Description /

No. - Address

l415 First Coast Comrnunity 1528 Guava Lane
Bunnell, F_L 32110

 

 

 

 

 

 

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(i) Claims Secured by Real Property andlor Personal Propert`y to Which Section
506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C.
§ 1325(;1). The claims listed below were either: (l) incurred within 910 days before the
petition date and secured by a purchase money security interest in a motor vehicle
acquired for the personal use of Debtor; or (2) incurred within one year of the petition
date and secured by a purchase money security interest in any other thing of value. These
claims will be paid in full under the Plan with interest at the rate stated below.

 

 

Last Four Creditor Collateral Claini Payment Interest
Digits of Description/ Amount Through Rate
Acct. No. Address Plan

6833 Santander 2017 Lancer $21,608.72 $414.66 5.5%

 

 

 

 

 

 

 

(g) Clai_ms Secured by Real or Personal Property to be Paid with Interest
Through the P}an under 11 U. S. C. § 1322(b)(2). The following secured claims Will be

paid in full under the Plan with interest at the rate stated below.

 

 

 

 

 

Last F our Creditor Collateral Claim Payment Interest
Digits of Description/ Amount l'i`hrough Rate
Acct. No. Address ` Plan

n/a

 

 

 

 

 

 

 

 

(h) Claims Secured by Personal Property_ Maintaining Regniar Payments and
Curing Arrearage, if any, With Ail Payments in Pian.

 

 

Last Four Creditor Collatera-l Regular Arrearage
Digits of Acct. Description Contractual

No. Payment

n/a

 

 

 

 

 

 

 

(i) Secured Claims Paid Directly by Debtor. The following secured claims are
being made via automatic debit/draft from Debtor’s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via

 

 

 

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automatic debit/draft The automatic stay is terminated in rem as to Debtor and in
rern and in personam as to any codebtor as to these creditors and lessors upon the
filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s
state law contract rights

 

 

 

Last F our Digits of' Acct. Creditor _ Property/Collateral

No.

235 6 chen 2nd l\/lortgage 1528 Guava Lane
Loan l\/lodification paid Bunnell, FL 321 10
outside of plan '

 

 

 

 

(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
following collateral/property The automatic stay under ll U.S_.C. §§ 362(a) and l301(a)
is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to
these creditors upon the filing of this Plan. '

 

 

Last F our Digits of Acct. Creditor Co}lateral/Property
No. Description/Address
n/a

 

 

 

 

 

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend
to make payments to the following secured creditors The automatic stay is terminated in
rem as to Debtor and in rem and in personam as to any codebtor with respect to these
creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are
neither terminated nor abrogated

 

 

Last Four Digits of Acct. Creditor v Collateral
No. Description/Address
n/a

 

 

 

 

 

6. LEASES / EXECUTORY C()NTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lesson the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(0), and no objection to the claim is pending If Debtor’s

 

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payments under the Plan arc timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

(a) Assurnption of` Leases/Executory Contracts for Real or Personal Property to
be`Paid and Arrearages Cured Through the Plan. Debtor assumes the following

leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows

 

 

Last Four Creditor/Lessor Description of Regular Arrearage and
l)igits of Acct. Leased Contractual Proposed Cure
`No. Property Payrnent -

n/a 7

 

 

 

 

 

 

(b) Assumption of LeasestXecutory Contracts for Real or Personal Property to
be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
claims that are paid via automatic debit/draft from Debtor’s depository account and are to
continue'to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft The automatic stay is terminated in rem as to Debtor and in rem
and in personam as to any codebtor as to these creditors and lessors upon the filing of this
Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
rights '

 

 

 

 

 

 

 

 

Last Four l)igits of Acct. Creditor/Lessor Property/Collateral

No.

n//a
(c) Rejection of Leases/Executory Contracts and Surrender of Real or _Personal
Leased Property. Debtor rejects the following leases/executory contracts and will
surrender the following leased real or personal property. The automatic stay is terminated
in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
and lessors upon the filing of this Plan.

Last Four Digits of Acct. Creditor/Lessor Property/Collateral to be

No. Surrendered

n/a

 

 

 

 

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7. GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after
payments to the above referenced creditors or shall otherwise be paid under a subsequent Order
Confirming Plan, The estimated dividend to unsecured creditors shall be no less than

$
D. GENERAL PLAN PROVISIONS:

l. Secured creditors whether or not dealt with under the Plan, shall retain the liens
securing such claims

2. Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the
Banl<ruptcy Court.

3. if Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s
discharge or dismissal of this case, unless the Court orders otherwise Property of

the estate

(a) `X shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this caseJ unless the Court orders otherwise, or

(b) shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. Unless otherwise
ordered by the Court, the Trustee shall only pay creditors with filed and allowed
proofs of claim. An allowed proof of claim will control, unless the Court orders

otherwise

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions The actual distributions may vary. if the summary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to confirmation,
after which time the Order Confirming Plan shall control.

6. Debtor shall timely file all tax returns and make all tax payments and deposits
when due. (However, if Debtor is not required to file tax returns, Debtor'shall
provide the Trustee with a statement to that effect.) For each tax return that
becomes due after the case is filedJ Debtor shall provide a complete copy of the
tax return, including business returns if Debtor owns a business together with all
related W-2s and Form 10993, to the Trustee within 14 days of filing the return.
Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,

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Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan
payments Debtor shall not instruct the internal Revenue Service or other taxing
agency to apply a refund to the following year"s tax liability Debtor shall not
spend any tax refund without first having obtained the Trustee’s consent or

Court approval

E. NONSTANDARD PR()VISIONS as Defined in F ederal Rule of 'Bankrnntcv
Procedure 3015§c§. Note: Any nonstandard provisions of this Plan other than those set
out in this section are deemed void and are stricken _

 

 

 

CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if` not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted Wording or nonstandard provisions other than any

nonstandard provisions included" m Section E.
SIGNATURE:
Debtor

mma

Gregor}@\/ayne Bostic Debtor

 

Attorney for Debtor

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Robert Zipperer

Attorney for Debtor

Florida Bar No: 196525

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PROOF OF SERVICE

`l HEREBY CERTIFY that a true and correct copy of the foregoing Chapter 13 Plan has
been furnished by either US Mail, postage prepaid or electronic mail to all creditors on the
attached mailing matrix (obtained from the Clerl<;’s office within 7 days prior to the date of
service), this 29th day of August, 2018.

- - Robert Zipperer
Attorney for Debtor

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